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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY




      (In the .1pace aho1·e enter thefi1/l na111e(s) ofthe plainti/1(1·1.)




                                                                                                             INT

                                                                                   Jury Trial:   ·     Yes   D     No


                                                                                                     (check one)




 1/11 the space aho1·e enter thejidl name(s) of the dejendant(s}. l(vou
 cannot/it the names of all of the defendants in the space provided.
 please write "see attached" in the space abm·e and attach an
 additional sheet ofpaper with thefiill list o/ names. The names
 listed in the ahm·e caption must he identical to those contained in
 Part I. Addresses should not he included here.!

 I.          Parties in this complaint:


 A.          List your name, address and telephone number. Do the same for any additional plaintiffs named. Attach
             additional sheets of paper as necessary.



 Plaintiff            Name

                      Street Address

                      County, City

                      State & Zip Code                          N.>          D D
                      Telephone Number
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 B.       List all defendants. You should state the foll name of the defendants. even if that defendant is a government
          agency, an organization, a corporation, or an individual. Include the address where each defendant can be
          served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
          Attach additional sheets of paper as necessary.


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 Defendant No. 2

                                       Street Address   ------




                                       County. City   _________________________




                                       State & Zip Code ------




 Defendant No. 3

                                       Street Address ------

                                       County, City   ________________________
                                                                              _




                                       State & Zip Code     ------




 Defendant No. 4                      Name    __________________________�




                                       Street Address   ------




                                       County, City   --
                                                                                                                            ----­




                                       State & Zip Code     --
                                                              ---




 II.      Basis for Jurisdiction:


 Federal courts are courts of limited jurisdiction. There are four types of cases that can be heard in federal court: I)
 Federal Question - Under 28 U.S.C. � 133 l, a case     involving the United States Constitution or federal laws or treaties
 is a federal question case; 2) Diversity of Citizenship - Under 28 U.S.C. §     1332, a case in which a citizen of one
 state sues a citizen of another state and the amount in damages is more than $75,000 is a diversity of citizenship case;
 3) U.S. Government Plaintiff; and4) U.S. Government Defendant.

 A.       What is the basis for federal court jurisdiction9 (check all that appzv)
         D    Federal Questions
                                               D      Diversity of Citizenship


         [Z]u   .S. Government Plaintiff       ou.s.        Government Defendant




 B.




                                                         - 2 -
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              C.         Ifthe basis for jurisdiction is Diversity ofCitizenship, what is the state ofcitizenship of each party?


                         Plaintiff(s) state(s) ofcitizenship   -----




                        Defendant(s) state(s) of citizenship       ------




              Ill.      Statement of Claim:


              State as briefly as possible the facts ofyour case. Describe how each of the defendants named in the caption ofthis
              complaint is involved in this action, along with the dates and locations ofall relevant events. You may wish to
              include further details such as the names ofother persons involved in the events giving rise to your claims. Do not
              cite any cases or statutes. If you intend to allege a number ofrelated claims, number and set forth each claim in a
              separate paragraph. Attach additional sheets of paper as necessary.


              A.        Whc,re did the events giving rise to your claim(s) occur9        ftJ'herl t.Je.11.JffL �;hJ
                   IDLakd        Jov   9kvtns ·k               ,   tfhd4 &.   ,




              B.        What date and approximate time did the events giving ris




  What
happened
 to you?




 Who did
  what?




   Was
 anyone
   else
 involved?




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Who else
sawwhat
happened?
               ��_iLve                                                                                                                                          �
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IV.      Injuries:



                                                   above describe them and state what medical treatmeut. if any,




V.      Relief:



State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and




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                                                                                                                    .I   (t_,




                                                    -4 -
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I   declare under penalty of perjury that the foregoing is true and correct.


Signed this                      Ar
                __!_dayof __--+-/vw,
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.!"J.ote:     All plaintiffs named in the c aption of the complaint must date and sign the complaint.




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                                                                               _______  ?                _________,,..




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